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                                              May 16, 2025

    Via CM/ECF

    Clifton Cislak, Clerk of Court
    U.S. Court of Appeals for the D.C. Circuit
    333 Constitution Avenue, NW
    Washington, DC 20001

                     Re: Widakuswara v. Lake, No. 25-5144

    Dear Mr. Cislak:

             In response to Defendants-Appellants’ May 14, 2025 letter, Plaintiffs-Appellees file this
    letter to alert the Court to additional updated information.

             On May 15, Defendants-Appellants U.S. Agency for Global Media terminated all
    personal service contractors (PSCs), including Plaintiffs John Doe 3 and John Doe 4. See Ex. A.
    The termination is effective May 30, after which date Does 3 and 4 will have thirty days before
    they are required to leave the United States and return to their home countries where they face
    risk of persecution. See Widakuswara v. Lake, No. 25-5144, 2025 WL 1288817, at *14 (D.C.
    Cir. May 3, 2025) (Pillard, J., dissenting) (setting forth irreparable harm to Does 3 and 4). This
    development underscores the serious, irreparable harm Plaintiffs-Appellees face in the absence
    of part (1) of the district court’s injunction—harm the Defendants-Appellees do not acknowledge
    in their opposition to Plaintiffs-Appellees petition for rehearing en banc.

            Defendants-Appellants’ decision to terminate en masse all PSCs a second time also belies
    their argument that they are engaged in individual personnel decisions that should be challenged
    on a contractor-by-contractor basis. See Defs.’ Response to Emergency Pet’n for Rh’g En Banc,
    No. 25-5144, at 8-9.
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                                             Respectfully Submitted,


GOVERNMENT ACCOUNTABILITY                    EMERY CELLI BRINCKERHOFF
PROJECT                                      ABADY WARD & MAAZEL LLP

                    /s/                                           /s/
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Matthew Blumin (D.C. Bar # 1007008)          Municipal Employees (AFSCME); American
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AMERICAN FEDERATION OF                                           STATE DEMOCRACY DEFENDERS
GOVERNMENT EMPLOYEES, AFL-CIO                                    FUND

                  /s/                                                               /s/
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DEMOCRACY FORWARD                                                Employees (AFSCME); and American
FOUNDATION                                                       Federation of Government Employees
                                                                 (AFGE)
                            /s/
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(AFSCME); American Federation of                                 Counsel for Plaintiffs Patsy Widakuswara,
Government Employees (AFGE); American                            Jessica Jerreat, Kathryn Neeper, and John
Foreign Service Association (AFSA); and                          Does 1-4
the NewsGuild-CWA


                                                                 * Pro hac vice application forthcoming

                                                                 ** Pro hac vice application pending

                                                                 ** D.C. Bar admission pending. Admitted
                                                                 only in California; practice supervised by
                                                                 members of the D.C. Bar.

1
    The views expressed herein do not purport to represent the institutional views of Yale Law School, if any.
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                          Exhibit A
                          Exhibit A
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                     U.S. AGENCY FOR
                     GLOBAL MEDIA

       VIA:   Electronic Mail

                                 NOTICE    OF TERMINATION         FOR CONVENIENCE

       May    15, 2025




       The purpose of this notice is to notify you your Personal Service Contract (PSC) is hereby terminated for
       convenience and will be effective, 11:59PM May 30, 2025, per clause FAR 52.212-4(1) (Termination for
       the Government’s Convenience).

       Currently you are on paid Administrative Leave until the effective date of May 30, 2025.

       Instructions on collecting your belongings and returning badges, credentials, laptops, and other
       Government Furnished Equipment (GFE) will be sent to you this week.

       Your final pay will be processed to include administrative leave, compensation leave and unused PTO.

       J1 Visa holders can contact HRVisaHelp@usagm.gov.




                         Please acknowledge receipt of this Notice of Termination for Convenience

                                                       (End of Notice)
